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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                  (WESTERN DIVISION)

                                                             C.A. No.:3:23-cv-30136
PIERCE BROTHERS GOURMET                              )
DISTRIBUTORS INC. d/b/a FOGBUSTER                    )
COFFEE WORKS                                         )
                                                     )
       Plaintiff                                     )
                                                     )
vs.                                                  )
                                                     )
NAPA VALLEY COFFEE ROASTING                          )
COMPANY, INC.                                        )
                                                     )
       Defendant                                     )


                   PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, the undersigned attorney

for the Plaintiff hereby certifies that the Plaintiff has no parent corporation and no publicly-held

corporation owns 10% or more of its stock.



                                                     Respectfully submitted,

                                                     THE PLAINTIFF,
                                                     PIERCE BROTHERS GOURMET
                                                     DISTRIBUTORS INC. d/b/a FOGBUSTER
                                                     COFFEE WORKS

Date: December 29, 2023                              By: /s/ Patrick J. O’Shea
                                                     Patrick J. O’Shea, Esq. (BBO #564832)
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                                CERTIFICATE OF SERVICE

        I, Patrick J. O’Shea, hereby certify that on December 29, 2023 a true and correct copy of
this document filed through the CM/ECF system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing.


                                              /s/Patrick J. O’Shea
                                              Patrick J. O’Shea
